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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                      Case No.: 1:20−cr−00077
                                                        Honorable Matthew F. Kennelly
Kenneth D Courtright
                                         Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 17, 2022:


        MINUTE entry before the Honorable Matthew F. Kennelly as to Kenneth D
Courtright: This order corrects docket entry [94] which contained a typographical error.
Telephonic status hearing held and continued to 10/27/2022 at 8:45 a.m. The following
call−in number will be used for the hearing: 888−684−8852, conference code 746−1053.
Persons granted remote access to proceedings are reminded of the general prohibition
against photographing, recording, and rebroadcasting of court proceedings. Violation of
these prohibitions may result in sanctions, including removal of court issued media
credentials, restricted entry to future hearings, denial of entry to future hearings, or any
other sanctions deemed necessary by the Court. Mailed notice. (mma, )




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